



6-96-028-CV Long Trusts v. Dowd                                     













In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-02-00161-CV


______________________________





IN RE:  DON R. DAVIS AND LINDA L. DAVIS








                                                                                                                                                             


Original Mandamus Proceeding







                                                                                                                                                             
                          



Before Morriss, C.J., Grant and Ross, JJ.

Opinion by Chief Justice Morriss



O P I N I O N


	Don R. and Linda L. Davis, acting pro se, have filed a petition for writ of mandamus asking
this Court to direct the removal of Judge Mike Wood, Probate Court Number 2 of Harris County,
Texas, from a case involving the probate of the estate of Janet Davis.  The Davises had filed a
motion seeking to remove the judge based both on recusal and disqualification grounds.   The motion
was heard by an appointed judge, who denied their motion.  The Davises ask this Court to find the
ruling erroneous and to order his removal from the probate proceeding.

	The question before this Court is jurisdiction.  This Court has jurisdiction to issue a writ of
mandamus against "a judge of a district or county court in the court of appeals district."  Tex. Gov't
Code Ann. § 22.221(b) (Vernon Supp. 2002).  Harris County is not within the territorial jurisdiction
of this Court.  Tex. Gov't Code Ann. § 22.201(g) (Vernon 1988).

	An earlier attempted appeal in this case had been filed, and the Texas Supreme Court
transferred it to this Court.  This Court dismissed the appeal for want of jurisdiction as an attempt
to appeal from an interlocutory order.  We find nothing in this case which confers jurisdiction on this
Court to decide this entirely separate mandamus proceeding. (1)  

	 The counties that are contained in the districts for the courts of appeals are set out in Tex.
Gov't Code Ann. § 22.201 (Vernon 1998).  Our civil jurisdiction is set out in Tex. Gov't Code
Ann. § 22.220 (Vernon 1988), which restricts our jurisdiction to those counties.  Our mandamus
jurisdiction is set out in Section 22.221(b), which provides us with authority to issue writs of
mandamus against a judge of a district or county court in our district.

	There is no statutory authority which would permit this Court to exercise mandamus
jurisdiction over a mandamus proceeding brought against a judge of a court sitting in Harris County,
Texas.

	The petition for writ of mandamus is dismissed for want of jurisdiction.  


							Josh R. Morriss, III

							Chief Justice


Date Submitted:	October 24, 2002

Date Decided:		October 25, 2002


Publish
1. The extent of our jurisdiction over the transferred case is specified in Tex. Gov't Code 
Ann. § 73.002 (Vernon 1998).  We further note that the orders by the Texas Supreme Court directing
the transfer of cases under the equalization process explicitly exclude any transfer of original
proceedings.



/p&gt;
EAST TEXAS ALL TERRAIN MONSTERS, Appellants
&nbsp;
V.
&nbsp;
EASTMAN CHEMICAL COMPANY, TEXAS OPERATIONS,
AND ENBRIDGE PIPELINES (EAST TEXAS), L.P., Appellees


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

On Appeal from the County Court at Law #2
Gregg County, Texas
Trial Court No. 2004-1861-CCL2


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;



Before Morriss, C.J., Ross and Carter, JJ.
Memorandum Opinion by Justice Ross


MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants, Oscar Wardon Still, Future Income, L.L.C., Rabbit Creek Mountain Mud
Blast, Rabbit Creek ATV-RV Park, and East Texas All Terrain Monsters, filed a notice of
appeal March 24, 2005, attacking the trial court's findings of fact and conclusions of law
entered March 22, 2005.



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court's findings of fact and conclusions of law do not constitute a final,
appealable order.  Unless otherwise statutorily authorized, an appeal may be made only
from a final judgment. See Tex. Civ. Prac. &amp; Rem. Code Ann. § 51.012 (Vernon 1997),
§&nbsp;51.014 (Vernon Supp. 2004–2005).  Accordingly, we dismiss this appeal for want of
jurisdiction.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Donald R. Ross
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;April 25, 2005
Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;April 26, 2005


